
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Amended Answer.
Claimant seeks to recover $8,013.05 for an invoice that was not submitted by the required due date for reimbursement due to a billing error. The amount represents that proportion of the increase costs of utility and custodial services in excess of the base year for the space occupied by the tenant.
In its Amended Answer, respondent admits the validity of the claim in the amount of $7,638.08, and states that there were sufficient funds expired in that appropriate fiscal year from which the invoice could have been paid. Claimant has agreed to accept payment in the amount of $7,638.08.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $7,638.08.
Award of $7,638.08.
